
670 So.2d 1079 (1996)
E.Y., a child, Appellant,
v.
STATE of Florida, Appellee.
No. 94-04397.
District Court of Appeal of Florida, Second District.
March 20, 1996.
James Marion Moorman, Public Defender, and Amy P. Thornhill, Assistant Public Defender, Bartow, for Appellant.
Robert A. Butterworth, Attorney General, Tallahassee; Robert J. Krauss, Senior Assistant Attorney General; Kimberly D. Nolen and Tracy L. Martinell, Assistant Attorneys General, Tampa, for Appellee.
QUINCE, Judge.
E.Y., a juvenile, challenges his adjudication and commitment for criminal mischief. Although we find no merit in his argument regarding his adjudication, we remand for resentencing.
Appellant was found guilty of criminal mischief, in violation of section 806.13, Florida Statutes (1993). The order of commitment reflected two other offenses for which appellant was adjudicated delinquent, burglary and petit theft. The court imposed one general sentence for all three offenses. A general sentence for separate offenses is prohibited. H.L.L. v. State, 595 So.2d 223 (Fla. 2d DCA 1992). Additionally, the maximum sentence for criminal mischief and petit theft is sixty days.
We affirm the adjudication but remand for resentencing consistent with this opinion.
BLUE, A.C.J., and WHATLEY, J., concur.
